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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT


   UNITED STATES
                                                                       No. 3:13-cr-18 (SRU)
              v.

   MARVIN WOOTEN

                                                     ORDER

         On February 27, 2013, Marvin Wooten pleaded guilty (pursuant to a plea agreement) to

Count One of an indictment charging him with conspiracy to distribute and to possess with intent

to distribute 280 grams or more of crack cocaine, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A)(iii), and 846. See Indictment, Doc. No. 14; Plea Agreement, Doc. No. 66; Min.

Entry, Doc. No. 67. 1 On May 22, 2013, I held a sentencing hearing and sentenced Wooten to the

mandatory minimum 120 months’ imprisonment and 60 months’ supervised release. See Min.

Entry, Doc. No. 124; Judgment, Doc. No. 147 (entered on June 19, 2013). Wooten, now 51

years old, is housed at the minimum-security satellite camp at McKean Federal Correctional

Institution (“FCI McKean”). See Find an Inmate, FED. BUREAU OF PRISONS,

https://www.bop.gov/inmateloc/ (last visited Oct. 16, 2020). Wooten’s scheduled release date is

July 22, 2021. See id. And Wooten is eligible for release to a halfway house on January 26,

2021. See Wooten’s 2d Supp. Mem. in Support of Renewed Mot. for Release (“Wooten’s 2d

Supp. Mem.”), Doc. No. 624.



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           The indictment also charged Wooten with one count of possession with intent to distribute 28 grams or
more of crack cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(iii). See Indictment, Doc. No. 14, at ¶
14. However, Wooten did not plead guilty to that count, and the government dismissed it at Wooten’s sentencing.
See Motion to Dismiss Count 12 of the Indictment, Doc. No. 123; Min. Entry and Order, Doc. No. 124.
         The parties agreed that the quantity of crack cocaine involved in the offense that was reasonably
foreseeable to Wooten was between 840 grams and 2.8 kilograms. See PSR, Doc. No. 99, at ¶ 5; Plea Agreement,
Doc. No. 66, at 3–4.
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       On August 5, 2020, Wooten (through counsel) filed a motion for a sentence reduction

pursuant to 18 U.S.C. § 3582(c)(1)(A), as amended in 2018 by the First Step Act. See Mot. for

Release, Doc. No. 618, at 1. Wooten argues that the following “extraordinary and compelling

reasons” warrant his release: (a) the general threat posed by COVID-19 in prisons, (b) the

incapacitation of Wooten’s sister combined with his aging mother’s “diminishing ability to care

for her,” (c) Wooten’s rehabilitation, (d) the fact that Wooten would have already been released

through the BOP’s Residential Drug Abuse Treatment Program (“RDAP”) had the government

not removed him from the program to testify in a federal grand jury proceeding. See Wooten’s

Mem. of Law in Support of Mot. for Release (“Wooten’s Mem. of Law”), Doc. No. 618-1, at 1.

On August 11, 2020, the government filed an opposition. See Gov’t Opp’n, Doc. No. 619. The

government opposes Wooten’s motion on the merits because Wooten has not alleged “that he has

a particular medical condition that makes him especially vulnerable to COVID-19.” Id. at 2.

The government also noted that Wooten did not demonstrate administrative exhaustion and that

Wooten’s release plan was unclear. See id. at 1–2.

       On August 12, I denied without prejudice Wooten’s motion and directed that “[w]hen

Wooten re-files his motion, he should include information regarding (1) his efforts to exhaust

administrative remedies and (2) whether he plans to live with his family in Ohio or with his

fiancé in Texas, as the government suggests.” Order, Doc. No. 620. On September 3, 2020,

Wooten filed a renewed motion for release. See Wooten’s Renewed Mot. for Release, Doc. No.

621. In that motion, Wooten provided updates on the status of his administrative exhaustion and

his release plan. See id. On September 9, 2020, the government filed a renewed opposition. See

Gov’t Renewed Opp’n, Doc. No. 622. On September 15, 2020, Wooten filed a supplemental

memorandum in support of his renewed motion for release, in which Wooten further addressed



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administrative exhaustion and reported that a U.S. Probation Officer in the Northern District of

Ohio spoke with Wooten’s mother and “completed a virtual inspection” of her home, which is

where Wooten plans to reside. Wooten’s 1st Supp. Mem. in Support of Renewed Mot. for

Release (“Wooten’s 1st Supp. Mem.”), Doc. No. 623. On September 24, Wooten filed a second

supplemental memorandum in support of his renewed motion for release, in which Wooten

informed me that he will be eligible for release to a halfway house on January 26, 2021. See

Wooten’s 2d Supp. Mem., Doc. No. 624.

        For the following reasons, I grant Wooten’s renewed motion for release, doc. no. 621.

   I.      Standard of Review

        The First Step Act of 2018 (the “FSA”) amended the language of section 3582(c)(1)(A).

Before the FSA, only the Director of the Bureau of Prisons (the “BOP”) could make a motion for

the court to reduce a defendant’s sentence based on extraordinary and compelling reasons. It is

widely acknowledged that the BOP fell short in its gatekeeper role and that, as a result, too few

inmates were granted compassionate release. See, e.g., U.S. Dep’t of Justice, Office of the

Inspector General, Evaluation and Inspections Division, The Federal Bureau of Prisons’

Compassionate Release Program i (April 2013), https://oig.justice.gov/reports/2013/e1306.pdf

(“[W]e found that the existing BOP compassionate release program has been poorly managed

and implemented inconsistently, likely resulting in eligible inmates not being considered for

release and in terminally ill inmates dying before their requests were decided.”); Shon Hopwood,

Second Looks & Second Chances, 41 CARDOZO L. REV. 83, 105–06 (2019); William W. Berry

III, Extraordinary and Compelling: A Re-Examination of the Justifications for Compassionate

Release, 68 MD. L. REV. 850, 868 (2009) (noting that, in the 1990s, 0.01 percent of inmates

annually were granted compassionate release).



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        Congress passed the FSA against that backdrop. The FSA altered section 3582(c)(1)(A),

in part, to increase the use of compassionate release. See 164 Cong. Rec. H10358 (daily ed. Dec.

20, 2018) (titling changes to section 3582(c)(1)(A) as “Increasing the Use and Transparency of

Compassionate Release”). In particular, the FSA amended section 3582(c)(1)(A) to allow a

defendant him- or herself to bring a motion for compassionate release. Section 3582(c) now

reads, in relevant part:

        (c) Modification of an imposed term of imprisonment. The court may not modify
        a term of imprisonment once it has been imposed except that – (1) in any case –

                 (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
                 motion of the defendant after the defendant has fully exhausted all
                 administrative rights to appeal a failure of the Bureau of Prisons to bring a
                 motion on the defendant’s behalf or the lapse of 30 days from the receipt of
                 such a request by the warden of the defendant’s facility, whichever is
                 earlier, may reduce the term of imprisonment (and may impose a term of
                 probation or supervised release with or without conditions that does not
                 exceed the unserved portion of the original term of imprisonment), after
                 considering the factors set forth in section 3553(a) to the extent that they
                 are applicable, if it finds that –

                     (i) extraordinary and compelling reasons warrant such a reduction; . . .

                 and that such a reduction is consistent with applicable policy statements
                 issued by the Sentencing Commission . . . .

Until recently, I (and many other district courts around the country) interpreted the “applicable

policy statement[] issued by the Sentencing Commission” to be U.S.S.G. § 1B1.13. See, e.g.,

United States v. Almontes, 2020 WL 1812713, at *2 (D. Conn. Apr. 9, 2020). Section 1B1.13

reads, in relevant part:

        Upon motion of the Director of the Bureau of Prisons under 18 U.S.C. §
        3582(c)(1)(A), the court may reduce a term of imprisonment . . . if, after considering
        the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable, the
        court determines that—

        (1)
              (A) Extraordinary and compelling reasons warrant the reduction; or

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           (B) The defendant (i) is at least 70 years old; and (ii) has served at least 30
              years in prison pursuant to a sentence imposed under 18 U.S.C. § 3559(c)
              for the offense or offenses for which the defendant is imprisoned;

       (2) The defendant is not a danger to the safety of any other person or to the
           community, as provided in 18 U.S.C. § 3142(g); and

       (3) the reduction is consistent with this policy statement.

U.S.S.G. § 1B1.13.

       Two application notes to section 1B1.13 further elucidate the meaning of “extraordinary

and compelling reasons.” Application note three provides, simply, that rehabilitation of a

defendant “is not, by itself, an extraordinary and compelling reason for purposes of this policy

statement.” U.S.S.G. § 1B1.13 cmt. n.3 (citing 28 U.S.C. § 994(t)). Application note one sets

forth three specific examples of “extraordinary and compelling reasons” and also one catch-all

provision. The first example explains that an inmate’s medical condition rises to the level of an

extraordinary and compelling reason when the inmate is suffering from a terminal illness or

some other serious condition that “substantially diminishes” that inmate’s ability to provide self-

care within the prison. U.S.S.G. § 1B1.13 cmt. n.1(A). The second example regards defendants

over the age of 65. See U.S.S.G. § 1B1.13 cmt. n.1(B). The third example concerns situations in

which an inmate’s family circumstances amount to “extraordinary and compelling reasons”

warranting release:

           (C) Family Circumstances.—

               (i) The death or incapacitation of the caregiver of the defendant’s minor
               child or minor children.

               (ii) The incapacitation of the defendant’s spouse or registered partner when
               the defendant would be the only available caregiver for the spouse or
               registered partner.




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U.S.S.G. § 1B1.13 cmt. n.1(C). The catch-all provision, titled “Other Reasons,” provides that

extraordinary and compelling reasons also exist when, “[a]s determined by the Director of the

Bureau of Prisons, there exists in the defendant’s case an extraordinary and compelling reason

other than, or in combination with, the reasons described in subdivisions (A) through (C).”

U.S.S.G. § 1B1.13 cmt. n.1(D).

       Because the Sentencing Commission has not amended section 1B1.13 since Congress

passed the FSA, some anachronisms within section 1B1.13 are in tension with the FSA. In

particular, two clauses in section 1B1.13—including the catch-all provision at U.S.S.G. § 1B1.13

cmt. n.1(D)—still require that the Director of the BOP be the one to bring a motion for relief

under section 3582(c)(1)(A). Of course, though, the FSA altered section 3582(c)(1)(A) directly

and eliminated that requirement by allowing a defendant him- or herself to bring such a motion

under certain circumstances. In part for that reason, the Second Circuit has recently held that

section 1B1.13 is not applicable to compassionate release motions brought by defendants

themselves. See United States v. Brooker, 2020 WL 5739712, at *6 (2d Cir. Sept. 25, 2020).

Because in this case Wooten himself made a motion for compassionate release, I may “consider

the full slate of extraordinary and compelling reasons,” and nothing in the “now-outdated

version” of section 1B1.13 limits my discretion. Id. at *7.

       In granting motions for reductions in sentence under section 3582(c)(1)(A) that are based

on the threat posed by COVID-19, courts within this circuit and across the country have

concluded that “extraordinary and compelling” reasons for release exist when an incarcerated

defendant suffers from health conditions or other infirmities that make him particularly

susceptible to serious complications should he contract COVID-19. See, e.g., United States v.

Colvin, 451 F. Supp. 3d 237, 241 (D. Conn. 2020).



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        But courts have focused on other factors, too. For instance, numerous courts have held

that, during the COVID-19 pandemic, the impending end of an inmate’s sentence helps

constitute an “extraordinary and compelling” reason to grant an inmate’s motion for

compassionate release. See, e.g., United States v. O’Neil, 2020 WL 2892236, at *7 (S.D. Iowa

June 2, 2020) (releasing prisoner with projected release date in 2023 who had served about 73

percent of his sentence); United States v. Rivera, 2020 WL 3186539, at *6 (D. Conn. June 15,

2020) (releasing inmate with about one year (ten percent) of his sentence remaining); United

States v. Jepsen, 451 F. Supp. 3d 242, 246 (D. Conn. 2020); United States v. Campagna, 2020

WL 1489829, at *1 (S.D.N.Y. Mar. 27, 2020); United States v. Perez, 451 F. Supp. 3d 288, 294

(S.D.N.Y. 2020). Given the threat of COVID-19, when a defendant has a small fraction of his

sentence remaining, “[t]he benefits of keeping him in prison for the remainder of his sentence are

minimal, and the potential consequences of doing so are extraordinarily grave.” Perez, 451 F.

Supp. 3d at 294.

        In addition, some courts have held that a defendant’s role as the only available caregiver

for an incapacitated close family member can contribute to “extraordinary and compelling

reasons” warranting that defendant’s release. Many courts—relying on a narrow construction of

U.S.S.G. § 1B1.13 cmt. n.1(C)(ii)2—have held that “extraordinary and compelling reasons” exist

only when a defendant is the only available caregiver for an incapacitated “spouse or registered

partner.” See, e.g., United States v. Hunter, 2020 WL 127711, at *3 (S.D. Ohio Jan. 10, 2020).

However, some courts have held not held so narrowly and have found that “extraordinary and

compelling reasons” may exist when a defendant is the only available caregiver of incapacitated



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            As described above, U.S.S.G. § 1B1.13 cmt. n.1(C)(ii) provides that “extraordinary and compelling
reasons exist” when the defendant “would be the only available caregiver” for the defendant’s incapacitated “spouse
or registered partner.”

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close family members other than spouses and registered partners—particularly, parents. See,

e.g., United States v. Bucci, 409 F. Supp. 3d 1, 2–3 (D. Mass. 2019) (mother); United States v.

Walker, 2019 WL 5268752, at *2–3 (N.D. Ohio Oct. 17, 2019) (mother); United States v. Riley,

2020 U.S. Dist. LEXIS 82909, at *6–7 (D. Vt. May 12, 2020) (father); United States v.

Hernandez, 2020 WL 4343991, at *1 (S.D. Fla. Apr. 3, 2020) (mother); United States v. Lisi,

440 F. Supp. 3d 246, 252 (S.D.N.Y. 2020) (mother, but declining to release defendant based on

3553(a) sentencing factors). 3 Even more importantly, the above decisions all rely heavily on the

language of section 1B1.13 cmt. n.1(C), but, given the Second Circuit’s recent guidance, that

section is inapplicable to the instant motion. See Brooker, 2020 WL 5739712, at *6. Thus, the

decisions that limit “extraordinary and compelling reasons” to situations in which the defendant

is the only available caregiver for an incapacitated spouse or registered partner are even less

persuasive.

         Courts also routinely focus on a defendant’s rehabilitation as one (non-dispositive) factor

contributing to “extraordinary and compelling reasons.” See, e.g., United States v. Rodriguez,

2020 WL 5810161, at *4 (S.D.N.Y. Sept. 30, 2020) (“[W]hile rehabilitation alone is insufficient,

it can interact with the present coronavirus pandemic to create an extraordinary and compelling

reason for a sentence reduction.”) (quoting Brooker, 2020 WL 5739712, at *9) (cleaned up);

United States v. Millan, 2020 WL 1674058, at *7 (S.D.N.Y. Apr. 6, 2020); 28 U.S.C. § 994(t)

(providing that “[r]ehabilitation of the defendant alone shall not be considered an extraordinary

and compelling reason”).




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           Admittedly, Wooten does not cite (and I am unaware of) any case in which a court has held that a
defendant’s status as the only available caregiver for his incapacitated sibling contributed to “extraordinary and
compelling reasons” warranting that defendant’s release. But I see no principled reason to distinguish between a
defendant’s sister and a defendant’s parent in that regard. Cf. Bucci, 409 F. Supp. 3d at 2 (seeing no reason to
distinguish between a defendant’s spouse and a defendant’s parent).

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         The defendant bears the burden of proving that he or she is entitled to a sentence

reduction. See United States v. Morales, 2020 WL 2097630, at *2 (D. Conn. May 1, 2020).

Courts “have broad discretion in deciding whether to grant or deny a motion for a sentence

reduction.” United States v. Jones, 2020 WL 2782395, at *2 (D. Conn. May 29, 2020) (quoting

United States v. Tagliaferri, 2019 WL 6307494, at *3 (S.D.N.Y. Nov. 25, 2019)) (cleaned up).

Indeed, section 3582(c)(1)(A) grants a district court permissive authority to reduce an inmate’s

sentence under certain conditions. See 18 U.S.C. § 3582(c)(1)(A) (“[T]he court . . . may reduce

the term of imprisonment . . . .”) (emphasis added).

   II.      Discussion

         A. Background

         Wooten was arrested on January 14, 2013, and he has remained incarcerated ever since.

See PSR, Doc. No. 99, at ¶ 6. Neither party focuses much on Wooten’s offense conduct in this

case. Put simply, Wooten bought powder cocaine from sources in Connecticut and New York

and himself cooked that powder cocaine into crack cocaine. See id. at ¶¶ 8–36. Wooten then

distributed the crack cocaine to others for further distribution. See id. at ¶ 9. The government

describes Wooten’s conviction as the result of a “lengthy DEA investigation that established him

as the center of a crack-distribution enterprise.” Gov’t Opp’n, Doc. No. 619, at 7. As the

government also points out, Wooten had a rather troubling event in his criminal history:

         At the time of the offense, Mr. Wooten was less than a year off supervision by the
         State of Connecticut in connection with his manslaughter/attempted murder
         conviction for the 1993 shooting death of a seven year old child in Stamford,
         Connecticut. That senseless and violent act stemmed from a turf war involving
         drug sales in Stamford.

Id.; see also PSR, Doc. No. 99, at ¶ 55 (describing the manslaughter and attempted murder

conviction).



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        For his conduct in this case, Wooten faced a ten-year mandatory minimum penalty, and

his Guidelines range was 135-to-168 months’ imprisonment. See PSR, Doc. No. 99, at ¶ 50

(total offense level 31); id. at ¶ 57 (criminal history category III); id. at ¶ 101–02. At the

sentencing hearing in this matter, I explained why Wooten’s conduct did not warrant, in my

view, the 120 months’ imprisonment that I was bound to impose. Several of my comments from

that sentencing hearing are relevant for purposes of this motion.

        On the one hand, I commented that Wooten had committed a “very serious crime,” one

“punishable by up to life in prison.” Sentencing Hr’g Tr., Ex. D to Mot. for Release

(“Sentencing Tr.”), Doc. No. 618-5, at 17:12–14. I also noted that Wooten’s “criminal

background is serious” and includes “prior convictions for both violent acts and for drug related

acts.” Id. at 17:18–20. But I explained that the different treatment of powder and crack cocaine

under the Guidelines resulted in an unjustifiably high Guidelines range in this case. See id. at

17:22–18:6. I explained that I would depart from the Guidelines range pursuant to Kimbrough v.

United States, 552 U.S. 85 (2007), and thus adopt a one-to-one powder-to-crack ratio. See id. at

18:7–16; 21:22–22:1. 4 With that understanding, Wooten’s Guidelines range would have been

70-to-87 months’ imprisonment. See id. at 18:15.

        I remarked that—had Wooten’s Guidelines range called for 70-to-87 months’

imprisonment—I would have sentenced Wooten “above that range because of your background,

because of your age, the fact that you’ve had a chance to grow up, to be in a serious relationship,




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            I even remarked that a one-to-one ratio may have been too harsh. See Sentencing Tr., Doc. No. 618-5, at
19:23–20:5 (“[Y]ou were taking powder cocaine and you were the one who knew how to cook it up, and you were
cooking it up and, ironically, you were adding to the weight of the drug by cooking it, so you were increasing your
guideline range every time you did that. So even the one-to-one ratio in one sense does not accurately account for
the difference in these two drugs.”).

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to have a young child,” and because Wooten had chosen to engage in drug dealing rather than to

take advantage of legitimate employment opportunities. Id. at 18:16–19:4.

        However, I also made clear that, had there been no applicable mandatory minimum in

this case, I would have sentenced Wooten to less than 120 months’ imprisonment. I remarked

that Wooten’s reaction to being arrested in this case—he was the first of 14 co-defendants to

plead guilty, and he did so very quickly, taking full responsibility for his actions 5—encouraged

me. See id. at 19:4–9. I noted that “there’s no hint of violence in your recent activities.” Id. at

19:11–12. I also pointed out that—although the government characterized Wooten as a “leader”

of the instant drug conspiracy—I did not view Wooten as “a leader in the traditional sense of

having a drug organization.” Id. at 19:20–22. I summed up:

        [T]he mandatory minimum here becomes the ultimate determinant of this sentence.
        If this had been a powder case, if you had been subject only to a five year mandatory
        minimum and a 70-to-87 month guideline range, I would have gone above that, but
        I’m unlikely to have gone as high as 120 months. Your conduct here is serious but
        it’s not serious enough to warrant the 120 months.

Id. at 21:25–22:7. Finally, I expressed my hope that, upon his release, Wooten would not return

to Connecticut because it was in Connecticut that Wooten had connections with people who were

bad influences on him. See id. at 21:7–21.

        B. Parties’ Arguments

        Wooten argues that extraordinary and compelling reasons warrant his release. Although

Wooten does not claim that he suffers from any particular medical issue that makes him more

susceptible to serious illness should he contract COVID-19, Wooten still relies in part on the

general (and extraordinary) threat that COVID-19 poses in prisons. See Wooten’s Mem. of Law,



        5
            See PSR, Doc. No. 99, at ¶ 3; see also Wooten’s Mem. of Law, Doc. No. 618-1, at 3 (noting that all
thirteen other co-defendants subsequently followed in Wooten’s footsteps and pleaded guilty).


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Doc. No. 618-1, at 8–15. Wooten acknowledges that there have been no positive tests thus far at

FCI McKean; however, Wooten emphasizes that there still may be undetected positive cases at

FCI McKean and that, if and when COVID-19 arrives, it will spread rapidly. See id. at 13–15.

Wooten also argues that because he is Black he may be more likely to become infected (or to

suffer serious complications) than someone who is white. See id. at 15.

         The core of Wooten’s argument concerns his role as the “only available caregiver for his

aging mother and disabled sister.” Id. Wooten explains that his mother (“Mrs. Wooten”) is 69

years old and lives in Akron, Ohio with Wooten’s 48-year-old sister, 6 who has “suffered from

cerebral palsy since birth and is confined to a wheelchair.” Id. (citing PSR, Doc. No. 99, at ¶

63). In a letter to me, Mrs. Wooten explains that Wooten’s sister “is not capable of taking care

of herself.” Mrs. Wooten’s Letter, Ex. E to Wooten’s Mot. for Release (“Mrs. Wooten’s

Letter”), Doc. No. 618-6, at 2. Mrs. Wooten claims that in Ohio she “has no family to turn to for

help,” and that she herself has “medical issues.” Id. Indeed, Mrs. Wooten explains that taking

care of her now-50-year-old daughter “is increasingly difficult” because, for instance, Mrs.

Wooten no longer drives. Wooten’s Renewed Mot. for Release, Doc. No. 621, at 1. Before

Wooten’s incarceration, Wooten was the “only help” Mrs. Wooten had. Mrs. Wooten’s Letter,

Doc. No. 618-6, at 2. Mrs. Wooten explains that “it is difficult to go shopping etc. with my

handicapped daughter and maintain her safety especially with the corona virus pandemic.” Id.

Mrs. Wooten claims that having Wooten home would be helpful because Wooten “would assist



         6
            It appears that the individual whom Wooten calls his sister is actually his maternal half-sister. See PSR,
Doc. No. 99, at ¶ 63. But that distinction hardly makes a difference to my consideration of this motion. Wooten
appears to be extremely close with his mother and half-sister. At the time of the PSR, “Wooten maintain[ed] regular
contact with his mother and maternal sister.” Id. Indeed, Wooten described his mother as “his best friend.” Id. at ¶
64. Mrs. Wooten told the probation officer that Wooten “cares deeply for his disabled sister, Linda, and when he is
home, he is active in assisting [Mrs. Wooten] with his sister’s care.” Id. at ¶ 74. Mrs. Wooten noted that “in the
future, her son hopes to move away from Connecticut and start a new life for himself,” and, at that time, she will
stand “ready to assist him and noted she will need his help to continue caring for his disabled sister.” Id.

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with transporting [Mrs. Wooten] and [his] sister to appointments” and with “physically lifting his

sister and engaging, generally, in other aspects of caring for his sister.” Wooten’s Renewed Mot.

for Release, Doc. No. 621, at 1. Wooten acknowledges that section 1B1.13’s “family

circumstances” prong “concerns only the incapacitation of a defendant’s spouse, partner, or the

caregiver of his minor children,” but Wooten argues that “[r]elationships with a parent or sibling

are sufficiently akin to those contemplated by the Guidelines to be similarly included.”

Wooten’s Mem. of Law, Doc. No. 618-1, at 16.

       Wooten argues that two other factors contribute to “extraordinary and compelling

reasons” warranting his release. The first is Wooten’s excellent rehabilitation. Wooten reports

that he has been “incident-free, alcohol-free, and substance-free during his entire time in BOP.”

Id. at 17. Indeed, “Wooten has not received a single disciplinary ticket in the BOP.” Id.

Wooten “worked his way down from a low-security FCI to a minimum-security satellite camp,

successfully completed the Drug Abuse Education Course with a score of 100%, and participated

in numerous other educational programs, including a parenting class.” Id.; see also BOP

Progress Report, Ex. A to Wooten’s Mot. for Release (“BOP Progress Report”), Doc. No. 618-2.

The second is the fact that Wooten might have already been released had the government not

removed him from RDAP after he had already completed over six months of the program.

Wooten entered RDAP in October 2018, but the government had Wooten transferred away from

FCI McKean for the following nine months so that Wooten could provide one day of federal

grand jury testimony. See Wooten’s Mem. of Law, Doc. No. 618-1, at 17. Although Wooten

could have re-started the RDAP program again in December 2019, Wooten was

“[u]nderstandably frustrated,” and “declined to continue with RDAP” at that time. Id.




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       Finally, Wooten claims that reducing his sentence to time served would result in a

sentence sufficient to serve the goals of sentencing, as described in 18 U.S.C. § 3553(a). Wooten

explains that he has already served the equivalent of 106 months’ imprisonment (including good

time credit). Id. at 18. Wooten points to his experience in RDAP, his rehabilitation, and his

concrete release plan as factors weighing in his favor. See id. at 19. Wooten also argues that he

“is unlikely to recidivate, given his current age, accomplishments in prison, and strong release

plan.” Id. at 20. Wooten notes that I should not hesitate to reduce his sentence even though it

would result in a sentence below the mandatory minimum; numerous courts have done so when

granting defendants’ motions for sentence reductions under the First Step Act. See id. (citing,

inter alia, United States v. Bess, 455 F. Supp. 3d 53, 67 & n.11 (W.D.N.Y. 2020) (citing cases)).

       The government takes a different view. On the merits, the government claims that

Wooten “has not met his burden of establishing that a sentence reduction is permitted” under 18

U.S.C. § 3582(c)(1)(A) because he relies on “the general threat posed by the COVID-19

pandemic and a host of other factors not related to any personal health concerns.” Gov’t Opp’n,

Doc. No. 619, at 1–2; 11–13. The government details the BOP’s extensive procedures to combat

the potential spread of COVID-19 within its facilities. See id. at 2–7. The government focuses

mostly on section 1B1.13—which it considers “binding” authority on my consideration of

Wooten’s motion—and how it “provides no basis for a sentence reduction based on concerns

regarding the length of a previously imposed sentence or the factors now identified by Mr.

Wooten.” See id. at 15–18.

       C. I Will Reduce Wooten’s Sentence To Time Served.

               1. Exhaustion




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       Normally, a defendant may not bring a motion for compassionate release pursuant to

section 3582(c)(1)(A) until “the defendant has fully exhausted all administrative rights to appeal

a failure of the [BOP] to bring a motion on the defendant’s behalf or the lapse of 30 days from

the receipt of such a request by the warden of the defendant’s facility, whichever is earlier.” 18

U.S.C. § 3582(c)(1)(A). The parties agree that, as of September 14, 2020 at the latest, Wooten

had satisfied the relevant exhaustion requirement. See Gov’t Renewed Opp’n, Doc. No. 622, at

1; Warden’s Letter, Ex. C to Wooten’s 1st Supp. Mem., Doc. No. 623-1, at 2; Warden’s Letter,

Ex. B to Wooten’s Renewed Mot. for Release., Doc. No. 621-1 at 5. Thus, Wooten has

exhausted his administrative remedies.

               2. Extraordinary and Compelling Reasons

       Although no single factor in Wooten’s case amounts to an “extraordinary and compelling

reason” warranting his release, I hold that several factors combine to form such a reason in this

case. Cf. Almontes, 2020 WL 1812713, at *5 (holding that, although no single factor warranted

release, “a combination of factors add up to extraordinary and compelling reasons”). The most

important factor is Wooten’s status as the only available caregiver for his aging mother and

disabled sister in Ohio. I have already explained why I disagree with the government’s position

that “extraordinary and compelling reasons” based on an inmate’s family circumstances exist

only when an inmate is the only available caregiver for an incapacitated spouse or registered

partner. Thus, I agree with courts that have held that extraordinary and compelling reasons can

exist when an inmate is the only available caregiver for a close family member other than a

spouse or registered partner, such as a parent—or, as here, a sibling. See Bucci, 409 F. Supp. 3d

at 2–3; Walker, 2019 WL 5268752, at *2–3; Riley, 2020 U.S. Dist. LEXIS 82909, at *7;

Hernandez, 2020 WL 4343991, at *1; Lisi, 440 F. Supp. 3d at 252.



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         However, in my view, Wooten’s status vis-à-vis his sister does not, alone, amount to an

extraordinary and compelling reason warranting Wooten’s release. That is because he is not

technically her only available caregiver. Mrs. Wooten’s letter to me makes clear that—although

it is difficult and getting more difficult all the time—she still cares for Wooten’s sister. Thus, I

must look elsewhere for additional reasons warranting Wooten’s release.

         The other factors that Wooten identifies are less significant, but they are nonetheless

substantial. One important factor is Wooten’s rehabilitation. As described above, Wooten’s

rehabilitation has been total. It is an impressive feat not to have amassed a single disciplinary

ticket in nearly a decade of incarceration. In addition, Wooten has worked hard to improve

himself while in prison. As the BOP itself reports: “Wooten should be fully employable upon

release from confinement.” BOP Progress Report, Doc. No. 618-2, at 3. 7

         Another important consideration is the fact that Wooten is quite near the end of his

sentence. Indeed, he is scheduled to be released to a halfway house in January 2021 (three

months from now) and to be released from custody entirely in July 2021 (10 months from now).

Thus, Wooten has served about 90 percent of his sentence. In considering inmates’ motions for

compassionate release during the COVID-19 pandemic, numerous courts have noted that it is

particularly appropriate to grant such motions when the inmate is near the end of his sentence

because “[t]he benefits of keeping him in prison for the remainder of his sentence are minimal,

and the potential consequences of doing so are extraordinarily grave.” Perez, 451 F. Supp. 3d at

294. Indeed, I have already indicated that I agree with that reasoning. See United States v.

Woodward, No. 3:11-cr-177, Order, Doc. No. 35, at 9–10. In this case, the fact that Wooten is


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            Wooten’s father, who apparently lives in Connecticut, is a semi-retired carpenter who has informed me
that he is willing to “teach Marvin the carpentry trade and train him to become a contractor like me if he has a need
for employment and income.” C. Entzminger Letter, Ex. C to Wooten’s Renewed Mot. for Release, Doc. No. 621-1,
at 7.

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near the end of his sentence takes on added significance because I expressed my view at

Wooten’s sentencing that, were it not for the applicable 120-month mandatory minimum, I

would have sentenced Wooten to a sentence higher than 87 months’ and lower than 120 months’

imprisonment. Wooten has now served the equivalent of about 106 months (with good time

credit), and so he has served the carceral sentence that I (likely) would have imposed in 2013 (if

I had had the discretion to do so).

       I also find it significant that Wooten would have been released by now had the

government not required his testimony in a federal grand jury investigation. The government

does not rebut Wooten’s argument on that point. A placement in RDAP normally lasts about

nine months. See Substance Abuse Treatment, FED. BUREAU OF PRISONS,

bop.gov/inmates/custody_and_care/substance_abuse_treatment.jsp (last visited Oct. 16, 2020).

And Wooten completed over six months in RDAP between October 2018 and May 2019. See

Wooten’s Mem. of Law, Doc. No. 618-1, at 2. An inmate who successfully completes RDAP

may earn up to a year off his sentence. See 28 C.F.R. § 550.55(a); United States v. Handy, 2020

WL 2487371, at *1 (D. Conn. May 14, 2020). Thus, had Wooten’s participating in RDAP not

been disrupted, he might have been released by July 2020 (a year before his current release date).

There is every indication that Wooten would have completed RDAP successfully.

               3. Section 3553(a) factors

       Before granting an inmate’s motion for release pursuant to section 3582(c)(1)(A), I must

ensure that the resulting sentence will be consistent with the sentencing factors as set forth in

section 3553(a). See 18 U.S.C. § 3582(c)(1)(A). Pursuant to section 3553(a), I must impose a

sentence that is sufficient, but not greater than necessary, to (1) reflect the seriousness of the

offense, promote respect for the law, and provide just punishment, (2) afford adequate



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deterrence, (3) protect the public from further crimes of the defendant, and (4) provide the

defendant with training, medical care, and other treatment in the most effective manner. 18

U.S.C. § 3553(a)(2). I also must consider other factors, including the nature and circumstances

of the offense and the history and characteristics of the defendant. See id. § 3553(a)(1).

       For many of the reasons that I have already discussed, reducing Wooten’s sentence to the

time he has already served (about 106 months’ imprisonment, including good time credit) is

sufficient to serve the purposes of sentencing. A sentence of about nine years for the instant drug

conspiracy offense adequately promotes respect for the law, provides just punishment, affords

adequate deterrence, and protects the public from further of Wooten’s crimes. As I remarked at

Wooten’s sentencing in 2013, a sentence close to nine years would have been appropriate in this

case. Given Wooten’s excellent record in prison, there is simply no reason to believe that any

sentence longer than the one he has already served is necessary to comply with the purposes of

sentencing. Notably, the government does not argue that the section 3553(a) factors counsel in

favor of Wooten’s continued detention.

       Wooten’s release plan gives me further confidence that Wooten will not recidivate upon

his release. The PSR describes the incredibly close relationships among Wooten, Mrs. Wooten,

and Wooten’s sister. See PSR, Doc. No. 99, at ¶ 74. Wooten’s desire to care for his sister and to

be near his aging mother are clearly genuine. Although the government claims that “a firm plan

for [Wooten’s] release—whether to Ohio, Texas, or Connecticut—is not in place,” the

government is incorrect. See Gov’t Renewed Opp’n, Doc. No. 622, at 2. Wooten has reassured

me that he will reside at his mother’s address in Akron, Ohio, “where he will provide [] much

needed hands on support for his mother and sister.” Wooten’s Renewed Mot. for Release, Doc.

No. 621, at 2; also BOP Progress Report, Doc. No. 618-2, at 2 (corroborating that Wooten’s



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proposed release address is Mrs. Wooten’s address). Further, Wooten’s counsel advises that a

probation officer in the Northern District of Ohio has spoken with Mrs. Wooten about the

arrangement and “completed a virtual inspection” of Mrs.’ Wooten’s residence. Wooten’s 1st

Supp. Mem., Doc. No. 623, at 1. Wooten conveys that “[w]ithin the coming year(s) he will

petition the Court to relocate to Texas, with his mother and sister, and live with his fiancé.”

Wooten’s Renewed Mot. for Release, Doc. No. 621, at 2; see also BOP Progress Report, Doc.

No. 618-2, at 4.

          Wooten’s desire to care for his sister and to help Mrs. Wooten is the weightiest

consideration contributing to the extraordinary and compelling reasons warranting Wooten’s

release in this case. In my view, there is no confusion regarding the fact that Wooten will be

residing with Mrs. Wooten. However, in an abundance of caution, I will modify the terms of

Wooten’s supervised release to include the condition that he reside at Mrs. Wooten’s address for

the remainder of the period that he would have been incarcerated (through July 22, 2021). Doing

so comports with my understanding of Wooten’s request for release and with the most important

reason that I grant that request.

   III.      Conclusion

          For the foregoing reasons, I grant Wooten’s renewed motion for compassionate release,

doc. no. 621. I reduce Wooten’s sentence to time served, and he shall be immediately released

from BOP custody. I deny as moot Wooten’s supplemental motions for compassionate release,

doc. nos. 623 and 624, which are supplemental memoranda in support of Wooten’s renewed

motion for release that were erroneously filed as motions. Because I grant Wooten’s renewed

motion for release, those motions (to the extent they are motions) are moot.




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       Upon release, Wooten shall commence serving his five-year term of supervised release

consistent with the conditions that I have already imposed. See Judgment, Doc. No. 147. In

addition, Wooten shall be subject to the additional condition that I have described above: He

shall reside at Mrs. Wooten’s residence—738 Baird Street, Akron, Ohio 44306—for the

remainder of his would-be carceral sentence (through July 22, 2021). Wooten must contact the

United States Probation Office as soon as possible, but in no event later than 72 hours after his

release.




   IT IS SO ORDERED.



   Dated at Bridgeport, Connecticut, this 16th day of October 2020.



                                                             /s/ STEFAN R. UNDERHILL
                                                             Stefan R. Underhill
                                                             United States District Judge




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